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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                   )
                        v.                         ) Case No. 1:21-cr-92
                                                   )
 COUY GRIFFIN,                                     ) Judge Trevor N. McFadden
                                                   )
        Defendant.                                 )
                                                   )

     DEFENDANT GRIFFIN’S NOTICE OF GOVERNMENT’S INCONSISTENT
    RESTRICTED AREA POSITION IN UNITED STATES v. CHRISTOPHER KELLY

       Defendant Griffin, through his counsel, files this notice of the government’s dismissal of

charges under 18 U.S.C. § 1752 in United States v. Christopher Kelly, 21-mj-128 (D.D.C. 2021).

       The defendant in that case was charged under § 1752 for allegedly entering the Capitol

Building on January 6, a “restricted building.” 21-mj-128, ECF No. 1-1. Today, the government

moved to dismiss that charge on the ground that it “serves the interests of justice.” 21-mj-128,

ECF No. 14.

       A law enforcement official subsequently informed the news media of the reason for the

dismissal of the charge. “Since [Kelly] was not inside [the Capitol Building], in the interest of

consistency in the investigation, the charges were dropped,” the law enforcement official said.

Feds move to drop charges for Capitol riot defendant, Politico, June 1, 2021, available at:

https://www.politico.com/news/2021/06/01/feds-capitol-riot-defendant-491514.

       Since this development followed briefing on Griffin’s motion to dismiss, Griffin

respectfully requests that the Court take it into account in considering his arguments concerning

arbitrary enforcement of § 1752, in light of the government’s concession that Griffin did not

enter the Capitol Building.

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Dated: June 1, 2021                 Respectfully submitted,

                                    DAVID B. SMITH, PLLC


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                                    Attorneys for Couy Griffin




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                                      Certificate of Service
       I hereby certify that on the 1st day of June, 2021, I filed the foregoing notice with the Clerk

of Court using the CM/ECF system, which will send a notification of such filing (NEF) to the

following CM/ECF user(s):

              JANANI IYENGAR
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-7846

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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                                                      Appointed by the Court




                                                                                                    3
